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                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE

IN RE:
                                                          CASE NO. 23-11469
AMERICAN PHYSICIAN                                        CHAPTER 11
PARTNERS, LLC.,
    Debtor.                                               JUDGE:
                                                          Brendan Linehan Shannon

                                                   Hearing Date: October 31, 2023 at 11 a.m.
                                                   Objection Date: October 24, 2023


                          MOTION FOR RELIEF FROM STAY

       Now comes the Petitioner, Chaya Hendrie, by and through counsel, and hereby respectfully

moves this Court, pursuant to Rules 4001(a)(1) and 9013 Federal Rules of Bankruptcy Procedure

(FRBP) for an Order for Relief from Automatic Stay granted to the Debtors pursuant to 11 U.S.C.

§ 362. The reasons for granting relief from stay are more fully set forth in the accompanying

memorandum attached hereto.

                                                Respectfully submitted:


                                                JACOBS & CRUMPLAR, P.A.

                                                  /s/ Raeann Warner
                                                Raeann Warner, Esq. (DE 4931)
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                                                Attorney for Plaintiff/Petitioner
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                                       MEMORANDUM

FACTS RELEVANT TO THE WITHIN MOTION.

       On or about July 9-10, 2020, Petitioner Chaya Hendrie, received negligent medical care

from agents of American Physician Partners, LLC and/or their subsidiaries (hereinafter

collectively referred to as “Debtors” or “APP”) in the emergency department of Jennie Stuart

Medical Center in Hopkinsville, Kentucky.

       On or about July 2, 2021, Petitioner commenced an action in the Circuit Court of Christian

County, Kentucky, captioned Chaya Hendrie v. Jennie Stuart Medical Center, Inc., et al, Case No.

21-CI-00542. (See Complaint attached as Exhibit “A” and Second Amended Complaint, attached

as Exhibit “B”).

       On or around September 22, 2023, counsel for Plaintiff in the Kentucky case learned that

APP had filed for bankruptcy along with many of its subsidiaries. This was confirmed when

counsel for APP filed a Notice of Suggestion of Bankruptcy and Automatic Stay in Case No. Case

No. 21-CI-00542. Upon information and belief, Debtors have professional liability insurance

through MAG Mutual Insurance Company available to cover damages sought by Petitioner.

ARGUMENT AND CITATION OF AUTHORITY.

       Petitioner now comes before this Court requesting relief from the automatic stay

protections of 11 U.S.C. § 362 such that her claims against the Debtors in Case No. 21-CI-00542,

their agents and unrelated co-defendants might proceed forward. Permitting Petitioner’s civil

lawsuit for injuries to proceed forward, where the Debtors’ insurer(ers) is required to defend and

indemnify the Debtors, will in no way affect or cause detriment to the Debtors’ bankruptcy estate

for which the protections of 11 U.S.C. § 362 apply. The Petitioner represents to the Court that any

recovery from Debtors in Case No. Case No. 21-CI-00542 will be limited to the amount of

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available insurance proceeds. Petitioner does reserve any objections to discharge that she may be

able to assert separately and reserves the right to collect a judgement against non-debtor co-

defendants in excess of available insurance limits.

       Under 11 U.S.C. § 362(d)(1), the automatic stay imposed after filing for bankruptcy can

be lifted, so long as an interested party can demonstrate “cause.” A bankruptcy court must decide

what constitutes “cause” to lift the automatic stay on a case by case basis. In the Matter of Rexene

Prods. Co., 141 B.R. 574, 576 (Bankr. D. Del. 1992) (“Rexene Products”). This Court relies upon

a three-pronged balancing test in determining whether “cause” exists for granting relief from the

automatic stay to continue litigation: (1) Whether prejudice to either the bankrupt estate or the

debtor will result from continuation of the civil suit; (2) Whether the hardship to the non-bankrupt

party by maintenance of the stay outweighs the debtor’s hardship; and (3) the creditor’s probability

of success on the merits. See In re Tribune Co., 418 B.R. 116, 126 (Bankr. D. Del. 2009). To

establish cause, Movants must show that the “balance of hardships from not obtaining relief tips

significantly in [their] favor.” Atl. Marine, Inc. v. Am. Classic Voyages, Co. (In re Am. Classic

Voyages, Co.), 298 B.R. 222, 225 (D. Del. 2003) (internal citation omitted). Here, the facts weigh

heavily in Petitioner’s favor on each of these three prongs.

        In the case sub judice, Petitioner initiated her civil suit for injuries prior to the Debtors

seeking bankruptcy protection and the automatic stay of § 362. Petitioner sustained a horrific

injury with 90% of her skin separating from her body and sloughing off very similar to a burn

victim and permanent ocular damage. She has subsequently disclosed numerous qualified medical

experts to support her claims against Debtors. Petitioner’s circuit court action for injuries and

damages has, however, been stayed in its entirety (even as to non-debtor co-defendants). Fourteen

(14) expert depositions that were previously scheduled were cancelled and Petitioner is in jeopardy

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of losing her specially set trial date of March 4, 2024. The hardship to Petitioner resulting form

the stay is enormous.

       Conversely, lifting the stay and allowing Petitioner to proceed against available insurance

results in no tangible hardship to Debtors. As mentioned above, APP has professional liability

insurance with MAG Mutual Insurance Company that would cover Petitioner’s claims against it.

Upon reasonable belief and information, the Debtors’ liability insurer(ers) are defending, paying

defense counsel, paying court costs and indemnify Petitioner’s claims and the Debtors’ bankruptcy

estate assets will in no way be pursued or dissipated by permitting the subject circuit court civil

claim to proceed.

       From the foregoing reasons, Petitioner respectfully moves this Court to grant her request

for relief from stay such that Petitioner’s circuit court action against the Debtors may be permitted

to continue forward with the lifting of the automatic stay of 11 U.S.C. § 362.

Date: October 5, 2023                              Respectfully submitted:


                                                      JACOBS & CRUMPLAR, P.A.

                                                        /s/ Raeann Warner
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                                                      Attorney for Plaintiff




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                                 CERTIFICATE OF SERVICE


       I hereby certify that on October 5, 2023 a copy of the foregoing Motion for Relief from

Stay was filed electronically. Notice of this filing will be sent by operation of the Court’s

electronic filing system to all parties indicated on the electronic filing receipt. Parties can access

this document through the Court’s system.

                                                      JACOBS & CRUMPLAR, P.A.

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